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                            United States District Court
                          Eastern District Of New York

                                                 12-CV-0055
                                             (Townes> D.J.)


                                           JOSEPH GENTILE,

                                                                 Petirioner,

                                                   against

                                         ROLLAND LARKIN, SupL


                                                                 Respondenr.



                              AMICUS CURI i\E BRIEF IN SUPPORT OF

                          PETITION FOR HABEAS CORPUS RELIEF

                                            28   u.s.c. § 2254
                                                  JOSEPH J. GENTILE, Eso. former
                                                  Attorney for Defendant Petitioner.
                                                  21-41 46th Street
         RICHARD A BROWN                          Long Island City, New York 11105
         District Attorney                        (718) 726-1252
         Queens County
-.       Attorney for Respondent
         125-01 Queens Boulevard
         Kew Gardens, New York 11415
         (718) 286-5862

         DANIEL BRESNAHAN
           Assistant District Attorney
            Of Counsel
                   ~upreme   Court, Queens County,:     Indictment #2642/05
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            UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF NEW YORK
            -----------------------------------x
            JOSEPH GENTILE,
                                                                 AMICUS CURAE BRIEF
-1                                    Petitioner,              IN SUPPORT OF PETITION
     ...
                    -against-                                    FOR A WRIT OF
                                                                 HABEAS CORPUS
            ROLLAND LARKIN, Superintendent,                       12-CV-0055
            Eastern N.Y. Correctional Facility,
                                                                 (Townes, D.J.)
                                      Respondent.
            -----------------------------------x
            TO THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NEW YORK,
            RESPECTFULLYa

                   I, JOSEPH J. GENTILE, the father of the Petitioner herein
            and a licensed New York Attorney at Law, wish to say that I and
            my son are very grateful for the privilege that this Honorable
            Court has extended to me in granting the permission to file my
            Amicus Curiae Brief.
                   In order to properly inform this Court, and the Respondent,
            I am submitting the following statement of facts and discussion
            herein as an Attorney's Affirmation:

           STATE OF NEW YORK)!
           COUNTY OF QUEENS ) UIS.    I


                !,JOSEPH J. GENTILE, an attorney at law, duly licensed to
           practice in the courts of the State of New York, and in this
           Court, being mindful of the penalties of perjury, hereby affirm
           that the following facts and discussions are true to my own know-
           ledge, except for those matters that are alleged upon information

                                                1.
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 and belief, and as to those matters, I believe them to be true.
         2,    The Factual and Legal Background set forth herein is
 copied directly from the 2nd page that is part of each of two
 separate Affirmations made by Assistant District Attorney Daniel
 Bresnahan, in the Appeal in Appellate Division #2007-00652 had
 herein, which are dated and signed on August 27, 2009 and on
 January 14, 2010, respectively, and are completely indentical.
         J.    These factual statements made by Mr. Bresnahan, are
 being used, not only for their brevity, but mainly to illustrate
 his dishonesty in setting forth to the appellate court that (a)
 "Defendant then pulled Ms. Persad into an adjacent laundry room,
 removed her clothes ••• " (under lining added ) (whereas Ms. Persad' s
 trial testimony (64, lines 15-17), was that she was wearing a
 pair of jeans and a blouse and stuff above her waist) and (b)
 "DNA tests performed on blood and semen found on the pants that
 Ms. Persad was wearing when she was raped revealed that the blood
 was that of Ms. Persad and the semen was that of defendant."
 (underlining added)(whereas the DNA expert, Mark Desire, who was
 the prosecutor's own witness, testified that with the DNA test-
 ing, he was unable to tell whether Ma, Persad's DNA traces came
 from skin cells or from the blood.)
       4.     I have annexed hereto the first and last pages of ADA'
 Daniel Bresnahan's said Affirmations of 8/27/09 and 1/14/10, with
 the identical Factual and Legal Background page inserted between
 so that the Federal Court may assess Mr. Bresnahan•s soundness
 and veracity, in his giving of adverse proof against my son.
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            SUPREME COURT OF THE STA TE OF NEW YORK
            APPELLATE DIVISION: SECOND DEPARTMENT
            ------------------------------------------------------------------x.
            THE PEOPLE OF THE STA TE OF NEW YORK,                                  Return Date:
                                                                                   August 28, 2009

                                                                                   AFFIRMATION IN
                                                                                   RESPONSE
      ...                                                                          AND OPPOSITION
      '              -against-


            JOSEPH GENTILE,                                                        Queens Count';
                                                                                   Indictment Number
                                                                                   2642/05

                                     Defendant.                                    A.D. # 2007-00652
            ------------------------------------------------------------------x.
                            DANIEL BRESNAHAN, an attorney duly admitted to practice in the State of

            New York, affirms the following to be true under the penalties of perjury:

                             1.      I amanAssistantDistrictAttomey, of counsel to Richard A. Brown, the

            District Attorney of Queens County. I am submitting this affirmation and accompanying

             memorandum of law in response to defendant's pro se motion, dated July 16, 2009, to allow

             Joseph J. Gentile Sr., Esq., to become his attorney of record in this appeal and for an

             enlargement of time to file a reply brief, and in opposition to defendant's motion to file
;..



             multiple reply briefs and for permission to have Joseph J. Gentile, Sr., Esq., orally argue

             defendant's appeal. I make the statements in this affirmation upon information and belief,

             and upon my review of the records and files offhe Queens County District Attorney's Office.
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                            FACTUAL AND LEGAL BACKGROUND

            2.     The evidence established that on July 29, 2005, defendant and a cohort, Peter

     Dipiano, drove in a cab to the Bronx home of Vashti Persad, who had just broken off a

     romantic relationship with defendant.          Defendant, with a .45 caliber handgun in his

.,   waistband visible to Ms. Persad, grabbed Ms. Persad by her wrist as she stood in front of her

     house and pulled her into the cab. Ms. Persad observed Dipiano sitting in the back-seat of

     the cab, holding a shotgun covered by a jacket. Defendant and Dipiano then took Ms. Persad

     to defendant's house at 21-60 46th Street, Queens County. Defendant brought Ms. Persad

     into the kitchen of the house, pointed the handgun at her, slapped her in the face, and accused

     her of having sexual relations with her neighbors. Defendant then pulled Ms. Persad into an

     adjacent laundry room, removed her clothes, and forcibly inserted _his penis into her vagina.

     Defendant also burned Ms. Persad's wrist several times with a cigarette. After Ms. Persad

     reported the rape, the police recovered the shotgun Dipiano had been holding from

     defendant's house and, upon arrest, defendant admitted to throwing a gun into a river. DNA

     tests performed on blood and semen found on the pants that Ms. Persad was wearing when

     she was raped revealed that the blood was that of Ms. Persad and the semen        w~s   that of

     defendant.

                   3.     For these acts, defendant was charged with 'Rape in the First Degree

     (Penal Law§ 130.35 [1]), Kidnapping in the Second Degree (Penal Law§ 130.20), Assault

     in the Second Degree (Penal Law § 120.05[2]), Unlawful Imprisonment in the Second

                                           ..   '
                                                      2



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              WHEREFORE, the People rely on this Court's discretion regarding

defendant's motion to have Joseph J. Gentile, Sr., Esq, named as defendant's attorney of

record and for an enlargement of time to submit a reply brief, and the Court should

summarily deny defendant's motion to submit multiple reply briefs and for permission for

Joseph J. Gentile, Sr., Esq, to orally argue defendant's appeal.



Dated: Kew Gardens, New York
       August 27, 2009


                                                             l   I




                                                  DANIEL BRESNAHAN
                                                  Assistant District Attorney
                                                  (718) 286-7046


To:    Joseph Gentile
       07-A-0255
       Eastern Correctional Facility
       P.O. Box 338
       Napanoch, New York 12458




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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION: SECOND DEPARTMENT
------------------------------------------------------------------x
THE PEOPLE OF THE STATE OF NEW YORK,                                  Return Date:
                                                                      January 15, 2010

                                                                      AFFIRMATION IN
                                                                      OPPOSITION TO
                                                                      DEFENDANT'S
                                                                      SUCCESSIVE MOTION
                                                                      FOR ENLARGEMENT OF
                                                                      TIME TO FILE REPLY
                                                                      BRIEF
         -against-


JOSEPH GENTILE,                                                       Queens County
                                                                      Indictment Number
                                                                      2642/05

                        Defendant.                                    A.O.# 2007-00652
------------------------------------------------------------------x
                DANIEL BRESNAHAN, an attorney duly admitted to practice in the State of

New York, affirms the following to be true under the penalties of perjury:

                1.      I am an Assistant District Attorney, of counsel to Richard A. Brown, the

District Attorney of Queens County. I am submitting this affirmation in opposition to

defendant's prose motion, dated December 11, 2009, seeking a third enlargement of time

to submit a reply brief. I make the statements in this affirmation upon information and belief,

and upon my review of the records and files of the Queens County District Attorney's Office.




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                          FACTUAL AND LEGAL BACKGROUND

       2.     The evidence established that on July 29, 2005, defendant and a cohort, Peter

Dipiano, drove in a cab to the Bronx home of Vashti Persad, who had just broken off a

romantic relationship with defendant.             Defendant, with a .45 caliber handgun in his

waistband visible to Ms. Persad, grabbed Ms. Persad by her wrist as she stood in front of her

house and pulled her into the cab. Ms. Persad observed Dipiano sitting in the back-seat of

the cab, holding a shotgun covered by a jacket. Defendant and Dipiano then took Ms. Persad

to defendant's house at 21-60 46th Street, Queens County. Defendant brought Ms. Persad

into the kitchen of the house, pointed the handgun at her, slapped her in the face, and accused

her of having sexual relations with her neighbors. Defendant then pulled Ms. Persad into an

adjacent laundry room, removed her clothes, and forcibly inserted _his penis into her vagina.

Defendant also burned Ms. Persad's wrist several times with a cigarette. After Ms. Persad

reported the rape, the police recovered the shotgun Dipiano had been holding from

defendant's house and, upon arrest, defendant admitted to throwing a gun into a river. DNA

tests performed on blood and semen found on the pants that Ms. Persad was wearing when

she was raped revealed that the blood was that of Ms. Persad and the semen         w~s   that of

defendant.

              3.          For these acts, defendant was charged with 'Rape in the First Degree

(Penal Law§ 130.35 [l]), Kidnapping in the Second Degree (Penal Law§ 130.20), Assault

in the Second Degree (Penal Law § 120.05[2]), Unlawful Imprisonment in the Second
                   ....                   . . 1




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             WHEREFORE, for the reasons set forth above, the Court should summarily

deny defendant's motion for an enlargement of time.



Dated: Kew Gardens, New York
       January 14, 20 IO




                                               DANIEL BRESNAHAN
                                               Assistant District Attorney
                                               (718) 286-7046


To:   Joseph Gentile
      07-A-0255
      Eastern Correctional Facility
      P.O. Box 338
      Napanoch, New York 12458

      Joseph J. Gentile, Sr. Esq.
      21-41 46 1h Street
      Long Island City, New York I 1105




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                                          POINT I
•
                 A.   THE APPELLATE DIVISION'S DECISION & ORDER
                      IS INTRINSICALLY REPUGNANT AND OBJECTIVELY
                      UNREASONABLE, AS IT BARS THE APPELLANT'S
                      VARIOUS GROUNDS FOR APPEAL AS BEING "UN-
                      PRESERVED", BUT THEN REJECTS HIS CLAIM
                      THAT "HE WAS DEPRIVED OF THE EFFECTIVE
                      ASSISTANCE OF COUNSEL."
                 B.   THE DECISION & ORDER DOES NOT HOLD THAT ITS
                      DICTA, FOLLOWING EACH "UNPRESERVED RULING"
                      AMOUNTS TO AN ALTERNATIVE DECISION" MADE
                      ON THE MERITS.

            The Appellate Division's "Decision & Order", People v.
     Gentile, 73 A.D. Jd 944 (2nd Dept. 2010), that relentlessly
     struck down the petitioner's hopes, is very much in agreement
     with the remarkable cautionary statement set forth in Cody v.
     Henderson, 9J6 F. 2d 715, 722 (2nd Cir. 1991), "At the appel-
     late stage, a defendant has been "stripped of his presumption
     of innocence" and is in the position of trying "to upset the
     prior determination of guilt."        Ross v. Moffitt, 417 U.S. 600,
     611 (1974).
            This appellate court was unanimous in its vindictive pur-
     pose to kick the convicted rapist when he was down, a la Cody v.
     Henderson and Ross v. Moffitt, (both supra), even though the
     trial record clearly shows that the appellant's ex-girlfriend
     testified that she didn't know whether she was burned with his
     cigarette first, or raped first, (62)s and she also testified
     that she was raped with her legs tightly crossed and with her
     still-buttoned pants positioned somewhere between her knees and


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  and her waist. (66,67).

         The respondent's supporting Affidavit in Opposition which
 was sworn to and submitted by Assistant District Attorney, Daniel
  Bresnahan, on April 19, 2012 (19 pages), contains an accurate
 summarization of the "Decision & Order", on its pages 15, 16 &17,
 and shows that the appellate court made very sure to "box in"
 the sorry "stripped of all rights" petitioner into a "Catch-22"
 and also into a "you can't get there from here" situation.
        The Appellate Division•s "Decision & Order" defys all logic
 when its rulings are taken together, as they first specifically
 deny all of the appellant's points or grounds for appeal, as
 "being unpreserved" but at the same time,         ~   ••• reject the defen-
 dant•s contention that he was deprived of the effective assis-
 tance of counsel."; these conflicting, contradictory conclusions
 are classic examples of "inconsistency and repugnancy" and thus,
 "objectively unreasonable."
        Just an ordinary reading of the "Decision & Order" and of
 respondent's Affidavit and Memorandum of Law in Opposition to
 Petition For a Writ of Habeas Corpus will suffice to prove that
 the petitioner's trial counsel       misera~ly   failed to be effective,
 and that he even failed opportunities to move for a mistrial.
        It is apparent that the appellate court's overburdened
 legal help failed to spot that although the trial court had a-
 greed with the DNA expert that the DNA testing was inconclusive
 because Ms; Per~ad~s DNA ffitght have come from skin cells (547),




                              P~ge 10
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     they somehow failed to consider that the lower court stumbled
     when it allowed prosecutor Carroll to shout to the jury, the words
•
     "SHE BLED", at about the end of his summation.
            Then, of course, the defense counsel was "asleep at the
     switch~,   as he was when Mr. Carroll told his unparalled bawdy
     example about a "2-bit whore" to Dr. Lewittes, so that the jury
     could hear, and become more biased against the petitioner.
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                                   EOINT II

•                 THE TRIAL PROSECUTOR'S ATROCIOUS MISCONDUCT
                  DURING THE TRIAL, AND ADA DANIEL BRESNAHAN'S
                  PERJURIOUS WORK DURING THE APPEAL, SEVERALLY
                  SERVED TO DENY BOTH A FAIR TRIAL AND A FAIR
                  APPEAL TO THE PETITIONER.

            At the trial, the prosecutor, John Carroll, Esq., created
     his unholy BIG LIE, to the effect that he warranted that Vashti
     Persad had sustained vaginal bleeding as the result of being
     forced into coitus with the defendant, and the totally unprinci-
     pled Mr. Carroll kept utilizing this scam to include his falsely
     describing his self-asserted "bloodstains", as being present on
     the crotch of Ms. Persad's blue jeans.
            Both Mr. Carroll and Mr. Bresnahan had been aware from the
     start, that Ms. Persad had never given any testimony or reason
     to believe that she had been caused to bleed or that there were
     any bloodstains on her blue jeans or elsewhere, but both kept
     up with the BIG LIE concerning "bloodstains", in fact, at this
     very time, the Memorandum of Law herein contains their "blood-
     stains•• fiction, on pages 26, 44      &   911
            At the trial, ADA Carroll even had the chutzpah to cross-
     examine the petitioner about "blood on the         jeans~   when he knew
     from the DNA expert's testimony that there wasn't any, but in
     order to put the defendant on the spot, before the court and the
     jury, he demanded, "How did the blood get in VashtieRersad's
     blue jeans, Mr. Gentile?" (699)
            This very entrapping question led to the petitioner's be-
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      ing tricked into believing that bloodstains had actually been
      determined by the DNA testing, and into hazarding his guess to
•
      the effect that the alleged stains might have come from pregnan-
      cy-spotting, as he had believed that she had been pregnant at
      the time she had left him.
             ADA Carroll jumped on this opportunity to contemptuously
     ridicule the defendant by sarcastically shouting, " ••• she is
     pregnant with your child, she fucks you in the laundry room,
     she tried to shake you down •••• " (698, 699)and, during summation
     he told the jury, "all of a sudden she is pregnant.", "this is
     the first time during the defendant's testimony that I am hear-
     ing of this pregnancy!"       Mr. Carroll lied, as he knew of V.P.'s
     possible pregnancy from differnt sources, but wanted to upset
     the defendant-witness into yielding to his pressure.
            Also during summation, he said, "you have not only semen
     but blood that is Vashi Persad's blood mixed with that semen in
     those blue jeans." (7J8}, and, "He has got no explanation for
     the blood in her blue jeans." (747).
            Mr. Carroll's biggest deliberate falsehood to the jury
     was undoubtedly, when he quoted Ms. Persad as saying, " ••• he was
     ramming it into me, it hurt •••• ", and then his finishing it off,
     by shouting, "SHE BLED. "
            As the trial transcript will show, John Carroll, Esq. had
     the incredible gall to have the jury inspect the blue jeans,
     even though the DNA expert agreed with the trial justice, that
     the DNA testing was unable to tell whether the stains on the



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      jeans

      came from skin cells or from the blood. (547).
•             On May 21, 2012, over a year ago, I, Joseph J. Gentile,
      the petitioner's father, telephoned Assistant District Attorney
      Daniel Brenahan, in order to obtain his consent to review a
      part of a proposed appeal brief that I had prepared to help my
      son in his appeal to the Appellate Division, but which he never
     adopted.     I told him that it was my 90th birthday, and that my
     proposed brief portion had been prepared in order to refute Mr.
     Carroll's claims that had been made during the trial, which had
     been to the effect that Vashti Persad had been caused to bleed
     due to the alleged "rape", and also to refute Mr. Carroll's al-
     legation that blood DNA had been detected on her blue jeans.
              Mr. Bresnahan was very gracious and agreed that I could
     send a copy to him.
              I mentioned to him that I had become determined to call
     him because of the foreward to a book, "Anatomy of Injustice••,
     written by Raymond Bonner (2010), which has to do with            ~a   pros-
     ecutor's duty .. and because it was my birthday, and he gave his
     congratulations.
              I had very naively believed and hoped, that perhaps when
     Mr. Bresnahan and the Queens District Attorney's Office were
     able to realize, by checking the trial transcript, that there
     had been no .. bleeding" and no DNA findings of any blood stains,
     they might feel morally and dutifully bound to set about to un-1.               ~

     due the injustice to my son, who really was convicted by John




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 Carroll's misleading the jury about Vashti Persad having been
 caused to bleed as a result of the alleged rape.
        However, I have not heard from Mr. Bresnahan nor from the
 Queens District Attorney's Office, since my telephone call, and
 the sending of my letter and proposed pa.rt of brief, about 12_
 months ago.
        It may be that the Queens County District Attorney's of-
 fice's legal personnel do not believe that "The prosecutor's
 duty is not that it shall win a case, but that justice shall be
 done ••• ", as pronounced by Justice Sutherland, in Berger v.
 United States, 295 U.S. 78 (as set forth in the foreword to
 "Abatomy of Injustice"), just as certain appeal courts that
 have "in the interest of justice" power, do not always consider
 the plight of convicted appellants (because they have been
 "stripped of the presumption of innocence"; however, the wrong-
 ly convicted can be thankful that they may be able "to upset
 the prior determination of guilt" with help from the Untited
 States district Courts, and their Writs!
        My letter, written on my birthday, May 21, 2012, that was

 sent to Mr. Bresnahan, together with the foreword to "Anatomy of
 Injustice", and that part of brief refuting Mr. Carroll's fake
 "SHE BLED" summation argument, are annexed hereto and made a
 part of this POINT.
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            JOSEPH JOH~ GE,TILE
                 ATTY REG# 1001141
                 HT 5 10         EYE   Brown
                 008 5/2111922                     JOSEPH J. GENTILE
                                                    Attorney at Law
                ID&pm:s          05/21/12          21-41 46th Street
                                                   Long Island City, N.Y. 11105
                                                   May 21, 2012
                                                   Res Joseph Gentile (Jr.) v.
                                                       Superintedent Rolland
                                                       Larkin
                                                       12-CV-0055(SLT)
    District Attorney, Queens County
    125-01 Queens Boulevard
    Kew Gardens, New York 11415-1568
    Attention: Daniel Bresnahan, Esq.
    Dear Mr. Bresnahans
            Thanks Very Much with your patience with me.
           I have enclosed a copy of the unutilized argument that
    I had proposed for my son's ~ppeal brief (showing that there
    wasn't any bleeding from the claimed "rape• and clearly no ac-
    tual proof of blood on Ms. Persad's pants).
           Also enclosed, copies of the foreword to Raymond Bonner's
    book, "Anatomy of Injustice .. (2012), which encouraged me herein.
           In various affirmations made by John Carroll, Esq. and
    yourself, it was stated: "DNA tests performed on blood and seman
    found on the pants that Ms. Persad was wearing when she was raped
    revealed that the blood was that of Ms. Persad and the semen was
    that of defendant ... , BUT the record shows that it was the Court's
    conclusion that .. In other words, you are unable to tell whether
    it came from skin cells or from the blood; is that correct?"
    (which was answered, .. That's correct...                ·
           Apparently, the Court, the prosecutor and the defense
    counsel, all promptly forgot about that this had been the Court's
    conclusion.
           I hope that my unpublished argument can help my hare-
    brained son in any way.
                                                  Very truly y9urs,
                                                   Jr~~ .)}.l:k_~
                                                  J'd~epn J. Gentile
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                     THE PRCSECUTOR, ADA JOHN CARROLL, SHOULD BE
                     CENSURED, FOR PERPETUATING THE FALSE CLAIMS
                     THAT, (A), VASHTI PERSAD WAS CAUSED TO BLEED
;.                   AS THE RESULT OF THE ALLEGED RAPE, (B) THAT
                     HER ALLEGED FRESH BLOOD BECAME MIXED WITH
                     THE DEFENDANT'S SPERM, AND (C) THAT THE BLUE
                     JEANS CONTAINED FRESH BLOOD STAINS BESIDES
                     OLD-LOOKING STAINS.

                A.   There was absolutely no testimony from Vashti Persad
                     that she had been caused to bleed as a result of
                     the alleged forced sexual encounter with her former
                     boyfriend, the defendant, Joseph Gentile.

                At no time during her testimony, did Vashti Persad give any
         evidence that she had sustained vaginal bleeding as the result of
         her alleged forced encounter with the defendant.           She did not tell
         her mother or any of her family about any such bleeding, and she
         never said anything about it to the police investigators or the
         District Attorney's office, because if she had, she would have
         been rushed to a hospital, for both medical attention and for a
         hospital report, both of which never occurred.
                However, Vashti Persad did testify, under direct examination,
         that after she allegedly was raped, that the defendant "Just stayed
         there and told me to go to the bathroom and clean myself up."                The
        prosecutor askeds Q. "What did you do?"          A, "So I did." (J45)         It
         should be obvious that if she had been bleeding vaginally, she
        would have remarked about it at this time of testifying in court
        about cleaning herself up at the defendant's request.              She still
        did not remark about any vaginal bleeding when she was cross-ex-
        amined by the defense, to wits         Q.   "Then he finishes and tells
        you to clean yourself up, get dressed, et cetera?"            A.    "yes".
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    Q.   "And you go into the bathroom, right?"         A.   "Yes."    { J88-J89)

             B.     The testimony of Mark Desire, the People's DNA Expert
                    definitely discloses that there was absolutely no      '
                    actual proof for ADA Carroll's false contention in a
                    statement duri119 summation, "You have not only semen,
                    but blood that is Vashti Persad's blood mixed with
                    that semen in those blue jeans." (738)

             In response to the prosecutor• s direct question, "Was a DNA
    profile generated from the blood in those blue jeans?", the expert
    witness, Mark Desire, answered, "The procedure that's performed
    for testing for the presence of blood and semen, you are unable
    to distinguish if the DNA came from possible vaginal excretion
    cells or semen stains.        We generally see a mixture of semen and
    vaginal cells, which are empty cells.          In this particular case,
    DNA was done, profiles generated for both the blood and the semen
    at the same time, so the DNA results in this case, the DNA pro-
    cedure for examining for the presence of blood DNA is the same
    procedure that we look for semen cells can be used, so the profiles
    that were generated would be for blood and semen at the same time."
    {547).        Then the Court questioned hims
             THE COURT1     "In other words, you are unable to tell whether
                             it came from skin cells or from the blood;
                             is that correct?"
             THE WITNESSt     "That• s correct."     {547)
             Vashti testified that she was not wearing any panties under
    her blue jeans (J84-J85), and it appears more than likely that she
    may have deposited menstrual blood stains in her soiled blue jeans
    much prior to the time of the alleged forced sexual encounter.



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            Mark Desire emphatically testified, "DNA technique cannot
    tell the age of a stain, DNA will last a very long time in blood
    or semen stain if conditions are right."          (555)
            It must be remembered that Vashti Persad and the defendant
    had lived together and had sex together for about a 4-month so-
    journ, and that it is most probable that stains of his semen and
    the stains of her menstrual blood might well have been embedded
    in the coarse denim fabric of her blue jeans, especially as it
    was her testimony that she did not wear panties underneath. (J84-
    J85).    Her testimony that she was not W'earing panties strongly
    indicates a lack of good personal hygiene and indifferent and
    careless laundering on her part.
            Regardless of Mr. Desire's testimony that "And there is no
    way of telling how long that a stain had been there."             (556) and
    "there was no way of telling through DNA profiling how old a
    stain is." Mr. Carroll dishonestly and unethically cross-exam-
    ined the defendant, by asking, "How did the blood get in Vashti
    Persad's blue jeans, Mr. Gentile" (699), and during his summa-
    tion, "You have not only semen, but blood that is vashti Persad's
    blood mixed with that semen in those blue jeans." (7J8), and,
    "He has got no explanation for the blood in her blue jeans." (747j

            c.   Although Vashti Persad testified that she had cleaned
                 herself up in the bathroom, without ever remarking
                 as she could have, that she had been caused to bleed
                 or that there was ani fresh blood, ADA Carroll per-
                 sisted in usinq; the IG LIE during his summation,
                 and succeeded in hoodwinking the Court and jury into
                 believing that the defendant was ~ilty of a vicious
                 rape, rather than a consensual making of love with
                 his temporarily-estranged girlfriend.
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           As part of his summation, Mr. Carroll said to the attending
    Court Officer, "I need the biggest packet."           The Court Officer
    handed the same to the prosecutor. (757)          Mr. Carroll then spoke
    to the jury:

             MR. CARROLL1 11 There is semen mixed (757) with her
             blood in her jeans. Stains 1-A and 1-B (indicating),
             and here they are. This is 1-A, the large stain
             going down the seam. This is 1-B, and you'll be
             able to - - they are black and white, I apologize,
             but you will be able to go back and you will be
             able to look at them. They are dark stains. I
             thought she was pregnant. If she is pregnant, where
             is that blood coming from? He hurt her. She said
             it. What did it feel like when he had you over that
             washing machine? He was rammin~ it in me, it hurt,
             it was painful. SHE BLED {758} And he has no
             answer for that."

           At a new trial, it will be certain that THE PEOPLE, and
    especially Mr. Carroll, will not again be able to employ THE BIG
    LIE that there was fresh blood involved in the falsely alleged
    rape, by showing the jury obviously old, incrusted stains on a
    dirty, unwashed pair of blue jeans, as evidence of same.
           Although Justice Buchter seemed to understand that there
    was no actual proof that the DNA samples showed blood rather than
    the vaginal secretions and skin cells that were probably the
    source of the DNA attributed to Vashti Persad, he failed to com-
    prehenl the significance of the matter, especially with regard
    to the prosecutor's false argument that there had been fresh
    blood, even through the only eye witness, Vashti Persad, never
    said that she had bled, or that there had been fresh blood.
           The trial court should have gathered from the DNA expert's




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        detailed testimony, that the DNA that was recovered by the DNA
        testing, could not have been from "fresh blood", as there wasn't
        any evidence of any, and that it was probably not from old blood,
        but that it was likely from her body cells and secretions, which
        were rubbed off by the blue jean denim material, especially since
        Vashti Persad had clearly testified that she had cleaned herself
        off at the defendant's request, and that she had not been wearing
        panties under her blue jeans.




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!The prosecutor's duty I is not that it shall win a ens<"
hut that justice shall bC' done .... I le may prosecute
with {'arncstncss and \·igor· - imlced, he should do
so. But. vlihil1: he may strike hard blows. he is not
al liberty to strike foul on<.'S. 11 is as much his duty
                                                                               Anatomy of Injustice
lo refrain from improper mC'lhods cakulated to                                  A MURDER CASE GONE \\/RONG
produce a \Vrongful conviction ns it is to use t·wry
 legitimate means lo bring ahout a just one.
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vicl the guilty and to make sure they do not convict                                                                       J
tht' innoccnl. They must he dcdicatC'd to making tlw                                                                       ~
criminal trial a procedurt' for the ascertainnwnt of                                                                        ~I
the true fa('ls surrounding, the commission of the                                                                        Q..
crime. 'fo this exh:nt, our so-called adversary system
is not adversary al all; nor shoulJ ii he. But defense
counsel has no L·omp•trahlc ohli~a!ion to ascertain
 or present the truth. Our wstem assigns him ;i dif.
 fr·rcnt mission. I k must be and is interested in pre-
 venting I he convict ion of the innocent. hut, absent a
 voluntary plea of guilty. we also insist that he defend
 liis client whether he is innocent or guilty.
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..                                 CONCLUSION

                For the reasons set forth herein, this Court should grant
         the petitioner's application for a Writ of Habeas Corpus.


                                                      Respectfully submitted,

                                                      ~J-~
                August 20    • 2013                   JOSEPH J. GENTILE




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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NEW YORK
                -----------------------------------x
                JOSEPH GENTILE,
                                                      Petitioner,           AFFIDAVIT OF SERVICE
                            -against-                                       BY UNITED STATES POSTAL
•                                                                                  SERVICE
                ROLLAND LARKIN, Superintendent,                               12-CV-0055
                Eastern N.Y. Correctional Facility,
                                                                               {Townes, D.J.)
                                                      Respondent.
                -----------------------------------x
               STATE OF NEW YORK )
                                              SS• :
               COUNTY OF QUEENS               )


                        MA.RY ANN GENTILE
               - - - - - - - - - - - - - - - - ' being duly sworn, deposes and sa.ys

               that deponent is not a party to the action, is over eighteen·:.( 18)
               years of age, and resides at 21-41                   46th Street, Long Island City,
               New York 11105.
                                           fl
                        That on August 2-0 , 2013, deponent served the within
               AMICUS CURI~E BRIEF IN SUPPORT OF PETITION FOR A WRIT OF HABEAS
               CORPUS PREPARED BY JOSEPH J. GENTILE, ESQ., upon the following
               named recipients:
               Honorable Sandra L. Townes
               United States District Court Judge                         District Attorney,
               Eastern District of New York                               Queens County
               225 Cadman Plaza East                                      Att: D. Bresnahan, Esq.
               Brooklyn, New York 11201                                   125-01 Queens Boulevard
                                                                          Kew Gardens, N.Y. 11415
    ----~~~~~~~~oseph Gentile #07A0255
    NOTi JOSEPH J. GENTILE reen Haven Correctional                 Facility
         AAY-~~~~~~:;1ro~ewVOctc           tormville, New York 12582-4000
       o.uahfi('ld in Qoeens en.-..
    Commission Expires June 3o"~    l.S-
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                               ling a true and complete copy of same in a postage
                              . ·By
               pre-pa.id envelope, and depositing same in a post office or official
               depository of the United States Postal Service within New York State.
                                                       ---·· ~'        1;/°
               Sworn to on August 2 C> t-~ 2013
                                                                        ~~     ~l&dt
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                                                                         a:r/;t;ndentile
                  ~J~
